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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                           CASE NO: 20-21553-CIV-COOKE/GOODMAN


    PATRICK GAYLE, et al.,

            Petitioners,
    v.

    MICHAEL W. MEADE, et al.,

          Respondents.
    ________________________________________/

            RESPONDENTS’ NOTICE REGARDING TRANSFERS OF DETAINEES

          Respondents, by and through the undersigned counsel, file this notice addressing the District

  Court’s order in [DE: 45] requesting Respondents’ position on the transfer of detainees and petitioners.

  In support, Respondents state:

      1. Respondents agree to not transfer any of the 34 petitioners during the pendency of litigation as

          long as the restriction does not include: executing a removal order of a petitioner, transfer of a

          petitioner to a hospital, or transfer of a petitioner’s custody to another law-enforcement agency,

          upon request by the law enforcement agency.

      2. Respondents cannot agree to not transfer any other detainee located at any of the three facilities.

      3. Respondents cannot agree to not accept any new detainee at any of the three facilities.

                                                  Respectfully submitted,

                                                  ARIANA FAJARDO ORSHAN
                                                  UNITED STATES ATTORNEY

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